                                                                           CLERKSOFFICE U.
                                                                                 ATROANOK S.
                                                                                           EDIST. COUR7
                                                                                            ,VA
                                                                                     FILED
                      IN TH E U N ITED STATE S D ISTRICT COU RT                    OC'
                                                                                     rJ a jg
                     FO R TH E W ESTERN D ISTRICT O F W RGIN IA               J            v
                              H ARRISO N BU RG D IV ISION                    BK                xC /RK
                                                                               '       U       E x

  KLIIN SU RAN CE CO M PAN Y,

        Plaintiffy
                                                 CivilAction N o.5:18-CV-00066
  V.


  N EXUS SERW CES,IN C.,
                                                 By:    M ichaelF.U tbansld
        D efendant,                              ChiefUlaited StatesDistrictJudge
  V.


  JUAN VALOY,eta1.y
        lntervenors.

                              M EM O RAN DU M O PIN IO N

        Thism atterisbeforethecoutton amodon tointerveneflled byluan Valoy,Edgar
  AlfredoRamos-Ramos,MarcelinoRamirez-sanchez,CesarAugustoGramajo,andGerson
  Castro Segeda.ECF N o.8.Them atterhasbeen fully briefed.The courtdispenseswith oral

  argum entbecause thelegalcontendonsate adequately presented in the m atedalsbefore the

  courtand argum entwould notaid thedecisionalprocess.Fotthe following teasons,the

  m odon to interveneisD EN IED .



        RI,IInsuranceCompany (<TRI,1') andNexusServices,Inc.tffNexus''lentetedinto an
  indemnityagreementonlanuary20,2016rflndemnityAgreement') asconsideraéon fot
  RT,I'sagreem entto issue imm igraéon bonds.A sdetailed in thecourt'sopinion on the


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  extensivelylidgatedpteliminatyinjuncdon,R1,IallegesthatNexusbreachedtheIndemnity
  Agreem entforavazietyofreasons,including failtzre to provide accessto N exus'books,

  recordsandaccounts.ECFNo.59.ThecourtgtantedRI,Iapreliminaryitjuncdonthat
  required N exusto give accessto a selecéon ofitsbooks,recordsand accounts.ECF N o.60.

         Duringthecourseofbriefingandargumentforthepreliminaryinjuncdon,luan
  Valoy,EdgarAlfredoRamos-Ramos,MarcelinoRnmitez-sanchez,CesarAugustoGramajo,
  andGersonCastroSegeda(theTdlntervenors')movedtointerveneasdefendantsinthis
  acdon.ECF N o.8.The lntew enorsclnim they have arightto intervene undetFederalRule

  ofCivilProcedure24(a)because(1)theyhavealegallyprotectedinterestatstake- theit
  sensitive and confidentialpersonalinform ation located in docum entsheld by N exusand

  requestedbyRI.1;(2)theirinterestisimpaitedoncethepersonalinfot-matbnisdisclosed;
  and (3)neitherRT,
                  InorNexusadequatelytepresentsthei.
                                                   tinterestsbecauseofthepne es'
  hnancialinterestsin com pliancewith thebond tet-m s.ECF N o.8,at3-10.TheIntervenots

  alsoarguethatthecourtcouldgrantpeM issiveinterventionunderRule24$)becausethey
  intend to directly oppose the reliefsoughtby RT,1and theirdefensessharethe sam e

  queséonsof1aw and factatissuein tllisacéon.ECF N o.8,at10-12.Additionally,the

  Intezvenorsnote thatthey have stancling because disclosure oftheirpersonalinform adon is

  anitjurydirectly causedbyRI,1'srequest,whichwotzld beredressed byafavorabledecision
  by thiscourt.ECF N o.8,at 12-13.

         RI,1objectsto theintervendon asaNexus-created strategyto frtzstrateRT.I's
   enforcem entofitscontracm alrights.ECF N o.71,at2.RT,
                                                       IarguesthattheIntew enors

  havenotcarried theirbutden ofdem onstrating theirzightto intervendon orthat



                                      2
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  citcumstancessupportpet-missiveintervendon.ECFNo.71,at4-14.RT,
                                                               Iclnims:(1)the
  allegedharm oftheinformadon'sfutureuseisspeculadve;(2)theIntervenorsandNexus
  have nearly idendcalinterestsin opposing enforcem entofthe lndem nityAgreem entfor

  privacyputposes,aswellasdefensesandreliefsought;(3)ordersin thisproceedingpreclude
  RT,Ifrom disclosingthisinformationtomostfhirdparties;(4)thelntervenorshavenot
  shown adversityofinterest,collusion,ornonfeasance;and (5)thelntervenorshavenotpled
   factsconnecdng them to theIndem nityAgreem entortheim m igradon bonds,including for

  purposesofstanding.Ld.aM oreovet,11Llcontendsthatintervenéon couldopen the

   floodgatestothe2,400otherbondprincipals,theirfamilies,andfriends,andcouldprejudice
  RLIbecausetheIntervenorsm ay wotk with N exusto fm strateR'
                                                            Ll'senforcem entefforts

   throughdilatorylitkationtacdcs.ECF No.71,at14-17.
         ln zesponse,the lntervenorsdenied RI,
                                             I'saccusationsthattheitproposed

  intew endon wasa lidgation tacdcbenehdng N exus.ECF N o.75,at2.N exus,foritspat't,

   agreed wit.h the Intervenors'm oéon and notesthatcounselforthe Intew enorspossesses

   knowledgeaboutim m igzation proceedingsand N exus'clients.ECF N o.78.

                                              II.

         Rule24(a)(2)governsintervenéonbyrkht,andptovidesasfollows,
                O n tim ely m otion,the cout'tm ust pe= it anyone to intervene
                who ...clsim san interestreladng to theproperty or tzansacdon
                thatisthesubjectoftheaction,andisso situated thatdisposing
                of the action m ay as a pracécalm atter im pair or impede the
                m ovant's ability to protect its interesta unless exiséng pnrties
                adequately reptesentthatinterest.

   Fed.R.Civ.P.24(a)(2).Thus,in addiéon todemonstratingtimelinessofthemoéon,an
   applicantmustshow:(1)intetestin thesubjectmatteroftheacdon;(2)thattheprotecéon

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  ofthisintetestwouldbeimpaitedbecauseoftheacéon;and(3)thattheapplicant'sintetest
  isnotadequately represented by exise g pnt-tiesto the lidgadon.SeeTea ev.Bakker,931

  F.2d259,260-61(4th Cir.1991).<f(A)disttictcotutisfentitled tothefullrangeofreasonable
  discreéon'todete= inewhetherthereqe ementsofintervendonasamatterofrkhthave
  been m et.'?Liberty M ut.FizeIns.Co.v.Lum berLiquidatozs,Inc',314 F.R.D .180,183

   (E.D.Va.2016)(quotingCom.ofVa.v.W esdn houseElec.Co .,542F.2d214,216(4th
  Cit.1976)).
         Rule24$)providesforpetmissiveintervendonofpntqies.Rule24q$(1)7)statesthat
   on tim ely m odon,the courtm ay pernnitanyone to intervenewho ffhasaclnim ordefense

   thatshareswit.h the m ain acéon a com m on queséon of1aw orfact.'?Fed.R.Civ.P.

  249$(1)7).Thecourtenjoyssubstanéaldiscredonoverallowingorrejecdngmotionsto
  interveneunderRule244$.SeeSmithv.Pennington,352F.3d884,892 (4th Cir.2003)9Hill
  v.W esternElec.Co.,672F.2d381,385-86(4thCir.1982).
                                            111.

         Thelntervenotsarguethattheyateentitledtointerveneasamatterofrkhtunder
   FederalRuleofCivilProcedure24(a),oralternadvely,thatthecourtshouldpermitthem to
   interveneunderRule249$.ThecoutthndsthattheIntervenotsfailto demonsttatetheiz
   needtointerveneundereitherRule24(a)or(b).
                                             A.

         UnderRule24(a),theIntervenorscannotestablish each elementteqe ed for
   intew ening asa m atterofright.The Intetvenorsdo saésfythe tim elinessrequirem ent.The

   lntew enotsm oved to intervenewithin two weeksofRLIflling itscom plaintand them odon



                                              4
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   forpreliminaryinjunction.Thecaseisstlllinitsearlystages,withonlytheiniéalpleadings
  flledand discoveryrecentlycommencingpertheJointDiscoveryPlan.lSeeUnked Statesv.
  Vkginia,282F.R.D.403,405(E.D.Va.2012)rtW hereacasehasnotprogressedbeyondthe
  iniéalpleading stage,amoéon tointerveneistimelp').However,theIntervenorsfailto
  demonstratethattheyhaveaninterestinthesubjectmattetoftheacdon,thatthisacdon
  would im pairthe protection ofthatalleged interest,orthatthei.
                                                               tinterestisnotadequately

  represented by theexisting pardesto the liégation.SeeTeague,931 F.2d at260-61.

          TheIntervenorsfailto exple how theyhaveaninterestin thesubjectmatterofthis
   acéon,w hich isthe alleged breached oftheIndem nityAgreem ent.To dem onstrate

  intervendon by right,the Intervenotsneed to show Tfa signihcantlyprotectableinterest,''as

   (<ageneralinterestinthesubjectmatterofpendinglitkation doesnotconsétaztea
  protectableinterestwithinthemeaningofRule24(a)(2).''D ' MaidD ' lnc.v.United
   States,147F.R.D.109,111(E.D.Va.1993)(quoe ginpartDonaldson v.UnitedStates,400
   U.S.517,542 (1971)).An interestisprotectableifanintervenor'scllim ordefenseffbearlsja
   closerelationslùp to thedispute between theexiséng lidgantsand therefore m ustbedirect,

  rathetthan rem oteorcontingent.''Id.H ere,theIntetvenorsm akeconclusory asserdons

   aboutthei.
            tinterestin thisacdon.Although thelntetvenorsundeniably havean interestin

   theirinfozmaéondisclosedinthisaction,thatalonedoesnotestablisharkhtof
  intervendon.Theitprivacy interestdoesnotbeara close relationsllip to whetherRT.Ior

   N exusbreached the lndem nityAgzeem entdudng the course oftheirbusinessreladonslùp.

   Tllisisbolstered by the factthattheIntervenorsdo notclnim to be third-party benehciaties

   1Thecotutnotesthatdisclostueshavebeenreleasedperthepreliminaryinjlmcdon,buttheyhavebeensubjecttoa
   protecdveozder.


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  to theIndem nityAgteem entand havenotatgued thatthey possessa specifk legally

  protectabletightin thisinformation.Cf.United Statesv.Vit ' 'a,282F.R.D.403,405(E.D.
  Va.2012)(f<Fur
              'thetvnote,thePeééonetshaveasignifkant,protectableinterestinteceiving
  theapptopriatecateoftheitchoiceandpzotecdngtheirtightsundertheADA....rllhe
  Com plaintcontainsaverybroad requestforreliefthatditectlyim plicatesthetightsand

  intetestsofthePetidoners.').
        M oreover,dfgtjheFourth Circuithasheldthatan interestcopdngenton theoutcome
  ofotherpendinglitkationqualifesasTsignificantlyprotectable.'''Linkousv.Am.Alternadve
  Ins.Co .,No.7:11-CV-278,2011K 4894233,at*2 (W .D.Va.Oct.13,2011)(citing
  Tea ue,931F.2d at261);seealsoTitan AtlasM f .Inc.v.Sisk,No.1:11CV00012,2014W L
  837247,at*3 (W .D.Va.Mar.4,2014)(denyingintervendon byrightwhetetheintewening
  indem nitorfTarguesthatitsdisputeswith Titan in N ew York and South Carolinaare

  influenced byTitan'sdisputewith PM R in thiscourt''and ffaclm itsthatitisnotpat'tofthat

  dispute').Here,however,theIntervenors'interestisnotcondngenton theoutcomeofthis
  M gation,and they have notshow n thatthey havea signifkantlyprotectableinterest.

        The Intezvenorsalso have notdem onstrated thattlzisacéon m ay pracécally im pairoê

  im pede theiralleged interestin tllisinfotm aéon.The courthasim plem ented ptivacy

  protecéonsforthe disclosuresm adeto date in tllisacéon.Thecolzrtfutthernotesthat

  N exus'currentand form erclients,which m ay include the Intervenors,havewaived thei.
                                                                                     r

  privacy rightsto atleastsom eoftheinform ation held in N exus'books,recordsand

  accounts.Forexam ple,the G PS Addendum to theContractforIm m igradon Bond




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  Seckuiézation and Indem nityAgteem entzstates:<TIundetstand thatinfotm aéon ptovided to

  Libreby N exusislikewiseprovided to thelicensed surety who poststhebond in the

  respondent'scase.':ECF N o.13-2,at22.

         Addidonally,asnoted above,theIntervenors'intezestsw ould notbeim paired

  because they have the oppottunity to lidgatewhethertheirpzivacy intezestsartviolated in

  anotheracéon.A sepatate acéon regarding theseprivacy intetestsisfatm ore appropdate

  than defending againstabreach ofcontractaction in wlzich theIntervenorsareneithera

  signatory to the contractnoralleged to bein breach ofsaid contract.U ltim ately,the

  Intew enorsofferno m ore than conclusoryallegaéonsasto how theirinterestw ould be

  impaitedbythisbreachofcontractacdon.SeeLinkous,2011W L 4894233,at*2rfplaindff
  would notchangeasaresultoftlliscase.W hile ithasspilled considerableink desctibing its

  interest,StateFatm hasnotm ade a singlenon-conclusory atgum entasto why thatinterest

  would beimpairedorimpededwithoutintervendon.');fsfsIn re:HolocaustVictim Assets
  L-tV .,225F.3d 191,199(2dCir.2000)(upholdingclistrictcouzt'sderlialofintervendonasof
  dghteven wherepzoposedintervenorsfçwould facemanysignifqantobstacles''without

  intervenéon).
          Perhapsm ostimportantly,the Intelvenorshave notshown thatN exusm ay

  inadequately representtheirinterests.The Intervenorsffneed notshow thatthe

  representadon by existing pardeswilldefnitely beinadequate,''seeILS.Inc.v.Pub.Serv.

  Comm'n ofW .Virinia,321F.App'x286,289(4th Cir.2009),and theburden ofshowing
  inadequacy oftepresentation isnninim al.SeeTrbovich v.U nited M ineW orkersofAm .,404

  2'
   Fhe'partiesdid notreferencetlzisfo= in thebriesng,butthecourttakesnodceofitasN exusftledtheform asan
  exhibittoitsmemorandllm of1aw inopposidontothemodonforpreliminaryitjuncdon.


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  U.S.528,538n.10(1972).However,theIntervenorshavenotshownthattherepresentadon
  hasbeen inadequatein any way to date,and theirconcernsaboutinadequatetepresentadon

  m oving forwatd are speculadve.N exusand thelntervenorsseek the sam ereliefof

  prevendng the disclosuteoftheclients'infotm adon in N exus'books,recordsand accounts,

  and advancenearlyidenticalaffit-m ativedefenses.Both the Intew enorsand N exuswantto

  preventthe disseminadon ofthe lntervenors'personalinfotm ation dudng and aftezthis

  lawsuit.Theysharethesameobjecdveregardingdisclosureofinfotmationinthisacdon.
        ffW henthepartyseekingintervendonhasthesameultimateobjecdveasapartyto
  thesuit,apresum ption arisesthatitsinterestsareadequately represented,agninstwhich the

  peddonermustdem onsttate adversityofinterest,collusion,ornonfeasance.''Com .ofVa.v.

  W esdn houseElec.Cor .,542F.2d214,216(4thCir.1976)(cilingOrdnanceContainer
  Co .v.S er Rand Co .,478F.2d 844 (5th Cir.1973)).Although Nexus'and the
  Intervenors'intetestsatenotprecisely aligned,ajN exushasfinancialinterestsand the

  Intervenorshaveprivacyinterests,theIntervenorshavenotpresented evidenceofadvetsity
  ofinterest,collusion,otnonfeasance.N exushasaggressively defended theprivacyrightsof

  itsfotvnerand currentclientsin thisacdon.A representaéve ofN exusin facttesdfied thatits

  com m ir entto m nintnining theitclients'privacyisessentialto thei.
                                                                    rbusinessm odel.See,

  q.g.,Prel.lnj.Htg.Tr.ECF No.23,at110 (Apr.27,2018)(respondingto thequesdon of
  .




  how N exus'businessm odelwould beaffected by a surety shmring inform adon forthe

  pum ose ofdetendon,N exus'vicepresidentofrisk m anagem entstated:ffltw ould absolutely

  desttoy ourbusinessm odelbecause no one- people com e to usbecauseweunderstand and




                                              8
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  we supportthem and w alk with them .Ifthey thoughtthatifthey cam eto ustherewould be

  ashortamountoftimeandtlaeywouldjustbete-detained,noonewoulduseotu service.'l.
           Anyconcern thatNexusmaychangecourseiseneelyspectzlativeatthisjuncture.
  SeeW esén houseElec.Co .,542F.2dat216 (hndingproposedintervenor'sconcern about
  settlem entnegoéadonsbeing conducted in a m anneradverseto itsinterestsasrfunfounded''

  withouttheintroduction ofproofsupporting theconcern);.
                                                       ç-iVit 'rliaUranblm Inc.v.
  McAuliffe,No.4:15-CV-00031,2015WL 6143105,at*3(W.D.Xa.Oct.19,2015)(fThe
  strong presumpdon arisesthatD efendantsadequatelyrepresentthe basin associadons'

  intetests.Both are ultim ately concerned thatthe Coutthold thattheAEA doesnotpreempt

  Va.CodeAnn.j45.1-283.:').Therealso hasnotbeen anysuggesdon ofcollusion between
  RT-Iand N exus,asevidenced by theextensive M gadon to date,ornonfeasanceby N exus.3

  Based on the argum entand inform adon provided by the Intervenots,N exuscan adequately

  representthei.
               rinterests.

           The Intervenorsfailed to show thatthey have asignificantly protectable interestin

   thesubjectmatteroftheacdon,thattheprotectionofthisinterestwould beimpaited
   becauseoftheacdon,orthatthetheizinterestisnotadequately represented by N exus.See

  Tea e,931 F.2d at260-61.Theyhavenotcarried thei.
                                                 rburden forpurposesof

   dem onstraéng theirtightto intew enein thisacéon.




   3A ddidonally,although notaddressed by thepardes,theIntervenorsdo notallege thatN exuswillprioritize theirprivacy
   interestslesstlzan otherclients'inform adon,nordoesthe record suggestsuch aconcem .Cf.United G uar.Residenti al
   Ins.Co.ofIowav.PhiladelhiaSav.FundSoc.,819F.
                                              2d473,476(4t11Cir.198-
                                                                   8 (fttzdingtrt
                                                                                zsteedidnotadequately
   representproposed intezvenor'sinterestsbecausefftheBank herehasa broaderinterestin protecting allofthe certifcate
   holdersthandoesPhiladelphia'snarrowerit
                                         zterestinprotectingitsownmortgageceztificates').

                                                          9
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                                             B.

         UnderRule24$),thecouttmaypetmitintetvendonTflojntimelymodon''byanyone
   who ffhasa clqim otdefense thatshateswitlathe m ain action a comm on quesdon oflaw ot

   fact.''Fed.R.Civ.P.24q$(1)1).Indetev iningwhethertope= itintervendon,thecourt
   mustffconsidetwhethettheintervendonwitlundulydelayorprejudicetheadjudicationof
   theoriginalpardes'rights.''Fed.Civ.P.249$(3).Thus,wheremovantsseekpermissionto
   interveneundetRule24@ ,theymustestablisheachofthefollowingelements:(1)thattheir
   motion isHmely;(2)thattheirclnimsordefenseshaveaqueséon oflaw orfactin common
   with themain acdon;and (3)thatintetvenéonwillnottesultinunduedelayorprejudiceto
   theexisting pao es.SeeW ri htv.Iitis Ie em eD ou hnuts lnc.,231 F.R.D .475,479

   (M .D.N.C.2005).
         Asexplained previously,theIntervenotssadsfythe tim elinessrequirem ent.H owever,

   based on thepaperspresented,the lntervenorsdo nothave acloim ordefensethatsharesa

   quesdon oflaw orfactwit.
                          h thisacdon.The lntervenorsacknowledge thatthey do not

   advancenew claim s,butffintend to directlyopposeglhLl'slrequestsforrelief....''ECF No.
   8,at11.These defensesincludechallenging theenforceabilityand interpretadon ofthe

   Indem nityAgreem ent,and relying on theequitable defensesofunclean hands,w aiver,and

   estoppel.ECF N o.8,at11-12.The lntervenorsdo notclnim to be thitd-party benehciaties

   oftheIndem rlityAgreem entand do notpresenta clearatgam entasto how a thitd-party

   could challengea private contract.M oreover,allofthesedefensesaze onesadvanced by

   N exusand are notspecifk to theIntervenors.Itisunclearhow the Intervenorssubstandvely

   could add to the casegiven the advancem entofthe sam e defensesand N exus'acdveand



                                             10
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   zealouspursuitofsafeguarding itsbooks,recordsand accountsin thisacdon.Cf.

   W es% houseElec.Cor .,542F.2d at217 (ffx'hetrialcourt,delugedwith addiéonalbziefs
   and pleadings,would beptovided with no new viewpointsand littleifany ilblm inadon to the

   originalWesdnghousecontractsdisputes.').
         Thelntervenorsmayhaveanequitableptivacyinterestinthehkhlypersonal
   informadonsubjecttothelndemnityAgteement.Howevet,assessingwhethetctutentand
   form erclientsofN exusm ay have som e equitableprivacyinterestin the inform adon held by

   N exusisatem arkably diffetentinquirythan whetherN exusorItLIbreached theIndem nity

   Ar eem ent.In fact,denying intervendon isunlikely to lead to inconsistentrulingsasitis

   conceivablethatthiscouttcould find the Indem nityAgreem entenforceablewhileanother

   cout'tconsidersthe lntervenors'interestin N exus'books,recordsand accountswithout

   even addtessing thevalidity ofthe agreem ent.Cf.U .S.ex rel.M ilestoneTarant,

   Ltf /ldighland O rnam entalIron W orks.lnc.v.Fed.Ins.Co.,815 F.Supp.2d 36,39

   (D.D.C.2011)rfThelointVentuteismoreEkelytobeprejudicediftllisCourtdoesn'tallow
   M anhattan to interveneto have the conflicdng cbim ssorted outbecause sorting them out

   oneatatimecould'leadto conflictingt'ulingsand wotzld certainlytakemuchmoretime.').
   The Intervenorsm ay sharean intetestin the disclosed inform adon,butthey do notshare a

   com m on quesdon of1aw orfactwith the breach ofcontractatthe heattofthisacdon.

         The Intervenors'lack ofcleardefensesasnonpartiesto the lndem nityAgteem ent

   alsorisksundulydelayingthisaction andprejudicingRT,
                                                     I.TheIntervenors'proposed
   defensesoverlap with N exus,butthey haveno clearstake in the Indem nityAgreem entand

   thusthe Intervenors'approach inherently differsfrom N exus.Cf.United Statesv.State,N o.



                                       11
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   1:16CV425,2016W L 3626386,at*3(M.D.N.C.June29,2016)(f%ecausetheptoposed
   intervenots'defensesand countercbim slargely overlap w1t11thelegaland facm alissuesthat
                                                           .




   arealready preseniin the m ain action,the addidon ofthesepardesisnotlikely to

   signifkantly com plicatetheproceeclingsorunduly expand the scope ofany discovery itltlzis

   case.').Dete= iningwhethetthelntervenorshavestandingtopursuethesedefensesand the
   necessntilydifferentmannerinwllich theypursuethesedefenses(astheydidnotsign the
   contract)willsignifkantlycomplicatetheproceeclings.Therelikelywouldneed tobe
   discovery to deterrninewhetherthe Intew enorshave standing in thisacdon and to what

   degtee they have an interestin theenforceabilityofthelndem nityAgreem ent.Furtherm ore,

   theproposed answ erdoesnotstate the lntew enors'zesidency status,leaving the cotut

   unableto dete= inewhethertheiradcliéon would destroyjutisdicdon.
         Ultimately,intervenéonwouldprejudiceRT,Ibyreqlxitingitto defendtllisacdon on
   m to ple frontsand undoubtedly delay and com plicate thisacdon thtough expanded

   discoveryanéaddidonalpretrialmodons.Thecourtw.
                                                illnotallow thatto happen.Thiscase
   alteady hasbeen rem arkably com plex w1t.
                                           11a numberofhearingsfortheprelim inary

   injunction,theappoin% entofaspecialmaster,andnow amodonforasecondpreliminary
   itjuncéon.Ifthelntervenorswantto challengetheirprivacyintetestsin theinformadon
   covered by thelndem rlityAgreem ent,they m ay separately pursuea case againstRLIor

   N exus.Tllisacdon rem ainsadispute be> een thetwo partiesthatsigned the Indem nity

   A greem entand willbelim ited to abreach ofcontractaction.

         Thecotutrecognizesthatffliberalintervenéon isdesirable to disposeofasm uch ofa

   controversy involving asm any apparently concetned personsasiscom padblewith efhciency



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   anddueprocess.';Fellerv.Brock,802F.2d722,729(4thCir.1986)(internalquotadon
   marksomitted).However,permitdngintervendonin tlaisacéon onlywould tack on ancillaty
   issuesarising from N exus'businesspracécesin reladon to the Indem nity Agreem ent.

   lntervendon isnotcom patiblewith effciency and dueprocessin thisacdon.A ccordingly;

   thecourtwillallow nottheIntew enorsto permissivelyintervenein thisacdon underFederal

   RuleofCivilProcedtue244$.AstheIntewenors'motbntointervenewillbedenied,their
   m oéon forD allasS.Lepierreto appearpro hacviceon theirbehalfin thisacdon isnow

   m oot.ECF N o.10.

                                                         IV .

          Forthesereasons,the courtwillD EN Y the lntervenors'm otion to intervene as

   defendants(ECF No.8)andmodonforDallasS.Lepierretoappeatprohacvice(ECF No.
   10).
          An appropdate O zderwillbeentered.                                   &i



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